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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA                           MAR 2 7 2019
                             ROANOKE DIVISION
                                                                             JULI~AC.DUDL~~CLERK
                                                                            BY:    ·
MARY LEE SHARRER,                          )                                   .    .:_pi             "'
                                           )
       Plaintiff,                          )
                                           )       Case No. 7:18-cv-356
v.                                         )
                                           )
UNITED STATES OF AMERICA,                  )
and                                        )
UNITED STATES POSTAL                       )
SERVICE,.                                  )
and                                        )      By:  Michael F. Urbanski
WALTER SOVA,                               )      ChiefUnited States District Judge
                                           )
       Defendants.                         )

                              MEMORANDUM OPINION

       This matter comes before the court on defendant the United States of America's

(United States) motion to dismiss all claims against it and defendant United States Postal

Service ("USPS'') pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), ECF

No. 20, and defendant Walter Sova's ("Sova") motion to dismiss all claims against him under

12(b)(1), ECF No. 38. The United States flled its motion on October 29, 2018. Id. Plaintiff

Mary Lee Sharrer ("Sharrer") responded on November 5, 2018. ECF No. 23. The United

States replied on November 13,2018. ECF No. 28. For the reasons explained below, the

court GRANTS the United States' motion, ECF No. 20, and DISMISSES the complaint as

it regards the United States and USPS, with leave to amend.

       Sova flled his motion to dismiss all claims under 12(b)(1) on November 30, 2018 for

the reasons set forth in the United States' motion. ECF No. 38. Sharrer responded on




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December 3, 2018. ECF No. 40. For the reasons stated below, the court DENIES Sova's

motion, ECF No. 38.

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        Sharrer works for KGS, Inc., a contract mail delivery service that delivers for the

USPS. ECF No.1, at 3. Sharrer picks up mail at the USPS main post office in Roanoke and

delivers it to various locations in Virginia. Id. Walter Sova ("Sova"), the only individual

named as a defendant, is a USPS employee who worked at the Roanoke Main Branch where

Sharrer picks up the mail. Id. Sharrer alleges that Sova sexually harassed, assaulted, and

battered her during work hours. Id. Sharrer's complaint includes a number of specific

incidents of physical and verbal harassment and sexual assaults and batteries. Id.

         Sharrer alleges that she repeatedly told Sova to stop and consistently reported his

behavior to other USPS employees, starting in September 2016. ECF No. 1, at 5. She claims

USPS refused to prevent Sova from interacting with her and that USPS managerial

employees were aware of prior complaints of sexual harassment against Sova. 2 Id. Sova was

finally arrested after Sharrer initiated state criminal proceedings. Id.

         Sharrer now seeks to hold the United States and USPS liable for the assaults and

batteries committed by Sova on the basis of respondeat superior liability and a theory

negligent retention. ECF No. 1, at 5-6. Sharrer filed her complaint on July 23, 2018, alleging

two counts. Id. Count I alleges assault and battery not only against Sova, but against the

United States and USPS, through Sova as their agent and employee. Id. at 5. This claim is



tAll facts are taken from Sharrer's Complaint and are presumed to be true. Republican Party of North Carolina v. Martin,
980 F.2d v. 943,952 (4th Cir. 1992).
2 Sharrer alleges that she was told by the USPS manager Bob Harstell that Sova was originally moved to Roanoke because
he had sexually harassed other women in Lynchburg. ECF No.1, at 5.

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brought under the theory of respondeat superior "or otherwise under Virginia law." Id. at 5-

6. Count II alleges negligent retention against the United _States and USPS pursuant to the

Federal Tort Claims Act, 28 U.S.C. §§ 2671 -2680. ("FTCA"). Id. at 6. In Count II, Sharrer

claims that the United States and USPS knew or should have known through the use of

ordinary care of Sova's propensities and negligendy placed him in a position where he could

have access to potential victims. Id.

                                               II.

       A motion to dismiss under Federal Rule of Civil Procedure 12(b)(1) challenges a

court's subject matter jurisdiction. Absent subject matter jurisdiction, a court must dismiss

the action. Evans v. B.F. Perkins Co., a Div. of Standex Int'l Corp., 166 F.3d 642, 653 (4th

Cir. 1999). Whether a plaintiff has standing to bring a cause of action "is generally associated

with Civil Procedure Rule 12(b)(1) pertaining to subject matter jurisdiction." CGM, LLC v.

BellSouth Telecomms., Inc., 664 F.3d 46, 52 (4th Cir. 2011). "That is because 'Article III

gives federal courts jurisdiction only over cases and controversies,' and standing is 'an

integral component of the case or controversy requirement."' Id. (quoting Miller v. Brown,

462 F.3d 312, 316 (4th Cir. 2006)). When a defendant raises substantive challenges to a

court's jurisdiction under Rule 12(b)(1), the court need not accept the complaint's allegations

as true and may consider facts outside the complaint to determine if it can properly exercise

subject matter jurisdiction. Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009). At all

times, "[t]he plaintiff has the burden of proving that subject matter jurisdiction

exists." Evans, 166 F.3d at 647.




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       Meanwhile, Rule 12(b)(6) of the Federal Rules of Civil Procedure permits a party to

move for dismissal of a complaint for failure to state a claim upon which relief can be

granted. To survive a motion to dismiss under Rule 12(b)(6), the plaintiff must plead

sufficient facts "to raise a right to relief above the specUlative level" and "state a claim to

relief that is plausible on its face." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007).

A plaintiff establishes "facial plausibility" by pleading "factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged."

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In ruling on a 12(b)(6) motion, the court must

accept all well-pleaded allegations in the complaint as true and draw all reasonable factual

inferences in the light most favorable to the plaintiff. Ibarra v. United States, 120 F.3d 472,

474. (4th Cir. 1997). However, "[t]hreadbare recitals of the elements of a cause of action,
.             .




supported by mere conclusory statements, do not suffice." Iqbal, 556 U.S. at 678; see Wag

More Dogs, LLC v. Cozart, 680 F.3d 359, 365 (4th Cir. 2012) (holding the court "need not

accept legal conclusions couched as facts or unwarranted inferences, unreasonable

conclusions, or arguments") (internal quotation marks omitted).

                                                III.

       Sharrer brings suit against Sova, the United States, and USPS, a federal agency. The

United States is protected from suit by the doctrine of sovereign immunity, which "deprives

a court of jurisdiction to hear a case" against its own sovereign. Global Mail Ltd. V. U.S.

Postal Service, 142 F.3d 208, 210 (4th Cir. 1998). As a governmental entity, USPS is also

"entitled to sovereign immunity unless Congress waives that immunity and authorizes

consent to suit." Id. The FTCA provides for one such waiver, wherein "the district courts ...


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shall have exclusive jurisdiction of civil actions on claims against the United States, for

money damages, ... for injury or loss of property, or personal injury or death caused by the

negligent or wrongful act or omission of any employee of the Government while acting

within the scope of his office or employment, under circumstances where the United States,

if a private person, would be liable to the claimant in accordance with the law of the place

·where the act or omission occurred." Durden v. United States, 736 F.3d 296, 301 (4th Cit.

2013); Welch v. United States, 409 F.3d 646, 650 (4th Cit. 2005) (citing 28 U.S.C. §

1346(b)(J)).

       Section 2680(h) of the FTCA, or "the intentional torts exception," specifically

exempts certain enumerated intentional torts from this waiver of sovereign immunity. Levin

v. U.S., 568 U.S. 503, 505 (2013). Section 2680(h) reads:

               The provisions of the act shall not apply to-

               (h) Any claim arising out of assault, battery, false imprisonment,
               false arrest, malicious prosecution, abuse of process, libel,
               slander, misrepresentation, deceit, or interference with contract
               rights.

28 USCA § 2680(h). The Supreme Court ruled in Sheridan v. United States, 487 U.S. 392

(1988), that this language does not have quite as broad a reach as it may first appear. While §

2680(h) does bar liability for injuries arising purely out of intentional torts, the Court ruled

that this section must be read against the rest of the act, and thus the exception would be

construed to apply only to claims that would otherwise be authorized by the basic waiver of

sovereign.immunity. Id. at 400. If, however, there is another basis for liability-an act of

negligence of another federal employee, for instance, that independent of the intentional tort

or the government employment status of the intentional tortfeasor would expose the second,

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negligent employee to liability under the law of the forum state-then the intentional tort

exception does not exonerate the government. See id. at 402 (holding that, when a drunk

federal off-duty employee Hred upon civilians, the government could potentially be held

liable for the alleged negligence of three on-duty employees in failing to take appropriate

action to secure the tortfeasor).

       Sharrer's complaint brings two counts: "Count One: Claim for Assault and Battery"

and "Count Two: Claim for Negligent Retention." ECF No.1. Count One is brought

against Sova, the United States and USPS, while Count Two is brought only against the

United States and USPS. Id. The court will address each in turn.

                                              A.
       As a preliminary matter, the United States' motion does not ask for dismissal of

allegations brought against Sova. See ECF No. 21. Sova, however, has moved to dismiss

Sharrer's claims as barred by sovereign immunity. ECF No. 38. Only one claim is brought

against Sova, alleging two intentional torts and brought pursuant to Virginia law. ECF No. 1.

Federal courts interpreting Virginia law, however, decline to apply sovereign immunity to

intentional torts. See, e.g., Hales v. City of Newport News, No. 4:11cv28, 2011 WL 4621182,

at *5-8 (E.D. Va. Sept. 30, 2011) (considering sovereign immunity for negligence claim, but

not for intentional torts); William Cty. Police Dept., 640 F. Supp. 2d 688, 712 (E.D. Va.

2009) ("Sovereign immunity, however, does not extend to state employees who

commit intentional torts. Thus, the state law claims for the intentional tort of assault and

battery ... cannot be dismissed on sovereign immunity grounds." (internal citations

 omitted)); Cominelli v. The Rector & Visitors of the Univ. ofVa., 589 F. Supp. 2d 706,716


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(W.D. Va. 2008) ("[S]tate employees are not immune for wanton or grossly negligent

behavior, intentional torts, or actions taken outside the scope of their employment."). Sova

cannot escape Sharrer's claims based upon sovereign immunity, and Sharrer has pled

sufficient facts to state a claim for relief against Sova under 12(b)(6). See ECF No. 1. Sova's

motion is thus DENIED.

       According to Sharrer's own pleadings, Count One is brought pursuant to Virginia

law, and not pursuant to the FTCA.       E~F   No. 23, at 4. The FTCA, however, is the

instrument that provides a waiver of the sovereign immunity protecting the United States

from all suits against it. 28 U.S. C.§ 1346(b)(1). If Count One is not brought pursuant to the

FTCA, then it cannot be brought against the United States. See id. Count One, as it relates

to the United States, therefore fails.

       For much the same reasons, Count One as it applies to USPS is also dismissed. While

Congress has enacted laws that permit USPS to sue and be sued in its own name under

certain circumstances, those circumstances do not include tort actions. 39 U.S.C.A. § 409;

Bauldwin v. U.S. Post Office, No. 807CV37, 2007 WL 2011239, at *1 (D. Neb. July 6, 2007).

Tort actions must be brought pursuant to the FTCA. 39 U.S.C.A. § 409.

       Count One as it applies to the United States and USPS is DISMISSED.

                                                  B.

       Count Two alleges that the United States and USPS "knew of or should have known

through the use of ordinary care of Sova's reasonably discoverable propensities to sexually

assault and batter women and history of doing so, and negligently placed plaintiff in a

position where Sova would have access to potential victims including plaintiff or where the


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threatened harm would come to pass." ECF No. 1, at 6. As stated above, Sharrer cannot

bring a tort claim against the United States or USPS outside of the FTCA, but nor can she

bring claims for assault and battery pursuant to the FTCA. Section 2680(h) lists both assault

and battery as intentional torts for which the United States retains its sovereign immunity. 28

U.S.C.A. § 2680. The FTCA extends no waiver to suits arising from such torts. Id.

       While the issue of whether the enumerated intentional torts can form the basis of a

negligent retention claim was not addressed by the Supreme Court in Sheridan, district and

appellate courts of the Fourth Circuit have held that such claims are barred. Wise v. U.S., 8

F. Supp. 2d 535, 545 (E.D. Va. 1998). See also Perkins v. United States, 55 F.3d 910, 916

(4th Cir. 1995) (addressing whether plaintiff's claims of negligent supervision and retention

were barred by§ 2680(c) of the FTCA and deciding that they were barred, based in part on

analysis of the assault and battery exception of§ 2680(h)) ("An allegation of 'negligent

supervision' will not render an otherwise unactionable claim actionable so long as the

negligent supervision claim depends on activity of the supervised agent which is itself

immune ... .If the United States is immune from suit for [the underlying] activities, it is also

immune from suit for [] negligent s1,1pervision because, without [the] underlying activities

and violations, there would be no cause of action for negligent supervision at all."). Sharrer

cannot state a claim for relief for negligent retention arising from assault and battery.

       Sharrer argues that the intentional tort exception does not apply to these allegations

because § 2680(h) does not list harassment, sexual or otherwise, among the      crime~   for which

the United States does not waive sovereign immunity. This is true; sexual harassment is not a

specifically enumerated tort. See 28 U.S.C.A. § 2680(h). Sharrer did not explicitly plead


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sexual harassment as the basis of her negligent retention claim-in fact, she specifically

pleads assault and battery in both Count One and Count Two of the Complaint. ECF No.1,

at 5 & 6. Since Count II does state that Sharrer "incorporates by reference herein the

preceding paragraphs," and a preceding paragraph does state that Sharrer was "sexually

harassed and groped" by Sova, the court will address the claim as if it is based on sexual

harassment. Id.

       Virginia law does recognize that sexual harassment may form the basis of a negligent

retention action. Glover v. Oppleman, 178 F. Supp. 2d 622, 643 (W.D. Va. 2001). The

United States responds that its only duty to prevent Sova's bad acts derives from his

employment status; under Sheridan and Boles v. United States, 3 F. Supp. 3d 491, 501

(M.D.N.C. 2014), federal employers have no duty to protect others from their employees

when the alleged duty is based entirely on the tortfeasor's employment relationship with the

United States. All cases cited by the United States in support of this argument, however, deal

with sexual assault, not sexual harassment. The court need not reach the question of whether

Sharrer can maintain an action of negligent retention against the United States and USPS on

the basis of sexual harassment, however, because the court agrees with the United States'

second argument: the discretionary function exception of the FTCA bars Count Two.

       The discretionary function exception reserves immunity for any claim "based upon

the exercise or performance or the failure to exercise or perform a discretionary function or

duty on the part of a federal agency or an employee" of the government. 28 U.S.C. § 2680(a);

McMellon v. United States, 387 F.3d 329, 335 (4th Cir. 2004). To determine if conduct falls

under the discretionary function exception, courts apply a two-pronged test: (1) "a court


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considers whether the challenged governmental conduct involves an element of judgment or

 choice," Rich v. United States, 811 F.3d 140, 144 (4th Cir. 2015) (citing United States v.

 Gaubert, 499 U.S. 315, 322 (1991)); and (2) if the challenged conduct does involve an

element of judgment, the court must then determine whether the judgment was one that the

exception was designed to protect, namely, a judgment based on considerations of public

policy." Rich, 811 F.3d at 144 (citing Gaubert, 499 U.S. at 322-23). ''When established

governmental policy, as expressed or implied by statute, regulation, or agency guidelines,

 allows a Government agent to exercise discretion, it must be presumed that the agent's acts

 are grounded in policy when exercising that discretion." Gaubert, 499 U.S. at 324. To make

 this determination, the court is to "look to the nature of the challenged decision in an

 objective, or general sense, and ask whether that decision is one which we would expect

inherently to be grounded in considerations of policy." Williams, No. 1:18-CV-00021, 2018

 WL 5077 652, at *2.

        USPS's decision to retain Sova meets both prongs of the above test. Numerous

 Fourth Circuit courts have held that decisions regarding the hiring, supervision, and

 retention of employees fall within the discretionary function test. See, e.g., Suter.

 v. United States, 441 F.3d 306, 312 n.6 (4th Cir. 2006) (holding that the claim that the FBI

 negligently hired and supervised an agent was barred by the discretionary function

 exception); LeRose v. United States, 285 F. App'x 93, 97 (4th Cir. 2008) ("The [federal

 Bureau of Prison's (BOP)] decisions regarding the hiring, supervision, and retention [of

 BOP employee/ alleged tortfeasor] are precisely the type of decisions that are protected

 under the discretionary function exception."); Anderson v. United States, No. 8:12cv3203,


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 2015 WL 9918406 (D.S.C. Oct. 9, 2015) ("In the Fourth Circuit, decisions regarding the

 hiring, supervision, and retention of employees are protected under the discretionary

 function exception to the FTCA."). See also Baum v. United States, 986 F.2d 716, 720-21

 (4th Cir. 1993) (employee retention "is [a decision] which we expect inherently to be

 grounded in considerations of policy."). As argued by the United States, USPS has the right

 "to hire, promote, transfer, assign, and retain, discharge, or take other disciplinary action"

 against its employees and the discretion "to determine the method, means and personnel by

 which [its operations] are to be conducted." 39 U.S.C. § 1001(e).

        Sharrer argues that USPS's decision not to fire Sova violated an official policy. ECF

 No. 23, at 5. In support, she cites to a rescinded poster titled ''Workplace Harassment:

 Know Your Rights! Take Responsibility." One section of the poster states, "If sexual

 harassment or inappropriate conduct is found, managers must take prompt and appropriate

 remedial action .... Employees will be subject to disciplinary action, up to and including

 removal, for engaging in sexually harassing behavior ... " UNITED STATES POSTAL SERVICE,

 Revised Poster: Poster   159~   Workplace Harassment: I<now your Rights! Take Responsibility!,

 https:/ /about.usps.com/postal-bulletin/2015/pb22416/html/updt_003.htm. The language

 of the poster states a general policy that sexual harassment is not permitted in the workplace,

 which clearly does not place USPS under a mandate to fire all employees accused of it. Id.

 Within the language of the poster, supervisors are given discretion as to how to punish those

 who are found t<? have engaged in harassment. Id. The poster also fails to specify what

 procedure should be followed to investigate allegations. Id. .




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        In Shansky v. United States, 164 F.3d 688, 691 (1st Cir. 1999), a plaintiff brought suit

 pursuant to the FTCA after tripping over an antique wooden threshold and sustaining

 serious injuries at a national historic site. Plaintiff alleged that the National Park Service was

 required to install handrails and warning signs at the site based on "a broadly worded

 expression of a general policy goal contained in the Park Service's operating manual to the

 effect that '[t]he saving of human life will take precedence over all other management

 actions."') (citation omitted). Id. The First Circuit disagreed and observed that the statement

 did not "specifically prescribe that any particular safety measure be employed at any

 particular place or in any particular facility." Id. Instead, the passage required the Park

 service "make discretion~ry judgments about how to apply concretely the aspirational goal

 embedded in the statement." Id. "Statements made at this level of generality do not satisfy

 Gaubert's ... specific prescription requirement. Were the law otherwise, the discretionary

 function exception would be a dead letter." Id.

        While not binding on this court, the Shansky decision offers guidance here. The

 language of the poster offers only a general policy that employers not tolerate sexual

 harassment and take action against harassers. What that action may be and how to go about

 implementing this policy is entirely up to USPS managers. Governmental conduct does not

 involve judgment or choice when "a statute, regulation, or policy prescribes a specific course

 of action." Berkovitz ex rel. Berkovitz v. United States, 486 U.S. 531, 536 (1988), but if an

 employee has a "range of discretion to exercise in deciding how to carry out" an assigned

 duty, Gaubert, 499 U.S. at 325, such acts are protected under the discretionary function

 exception and sovereign immunity is not waived. Despite the reprehensible nature of the


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acts Sharrer alleges Sova committed, USPS, by statute and by circuit precedent, had

discretion in the hiring and firing of Sova in the face of Sharrer's claims. The United States

and USPS thus cannot be held liable for USPS's retention of Sova.

       Count Two is thus DISMISSED.

                                              IV.

       As the United States has not waived sovereign immunity on either its own behalf or

USPS's for either Count I or Count II, the United States' motion GRANTED. Sharrer's

complaint is DISMISSED with leave to amend.

       Sova's motion is DENIED. Sovereign immunity grants no protection to government

employees against allegations of intentional torts.

       An appropriate Order will be entered.

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